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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 KENDRICK DEMON STIDOM,                        §
                                               §
                 Plaintiff,                    §
                                               §
 vs.                                           §   CIVIL ACTION NO. 3:21-CV-01389-N
                                               §
 JP MORGAN CHASE BANK,                         §
 NATIONAL ASSOCIATION,                         §
                                               §
                 Defendant.                    §

    DEFENDANT’S AGREED MOTION TO EXTEND DEADLINE TO ANSWER OR
       OTHERWISE RESPOND TO PLAINTIFF’S ORIGINAL COMPLAINT

         Defendant JPMorgan Chase Bank, N.A. (incorrectly named JP Morgan Chase Bank,

National Association) (“Defendant” or “JPMC”) files this Agreed Motion to Extend Deadline to

Answer or Otherwise Respond to Plaintiff’s Original Complaint, and would respectfully show the

Court as follows:

                                              I.

         1.    Plaintiff Kendrick Demon Stidom (“Stidom”) filed his Original Complaint (the

“Complaint”) against Defendant on June 14, 2021.

         2.    Defendant was served with the Complaint on June 21, 2021. Defendant’s deadline

to answer, move or otherwise respond was therefore July 12, 2021.

         3.    On July 8, 2021, in-house counsel for JPMC contacted counsel for Plaintiff

regarding JPMC’s deadline to respond to the Complaint. JPMC was in the process of retaining

outside counsel in connection with the instant action, and therefore requested that Plaintiff stipulate

to extending JPMC’s deadline to answer to August 23, 2021. Plaintiff’s counsel expressed “no

objection to an extension until August 23 to answer [or] otherwise respond to the complaint.”

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       4.      JPMC therefore requests that its deadline to answer, move or otherwise respond to

the Complaint be extended to August 23, 2021.

       5.      This motion is made in good faith, for purposes of preserving judicial and party

resources, and not for the purpose of causing undue delay. Given the early stage of litigation, there

is no danger of prejudice to the opposing party nor will the length of the delay impact the judicial

proceedings. For the reasons set forth herein, there is good cause and excusable neglect for the

Court to extend JPMC’s deadline to answer, move or otherwise respond to the Complaint. See Fed.

R. Civ. P. 6(B)(2) (permitting a court to extend the time to answer, for good cause, on motion

made after the time has expired if the party failed to act because of excusable neglect).

                                                 II.

       WHEREFORE, Defendant JPMorgan Chase Bank, N.A. respectfully requests that its

Agreed Motion to Extend Deadline to Answer or Otherwise Respond to Plaintiff’s Original

Complaint be granted and that Defendant’s deadline to answer, move or otherwise respond be

extended to August 23, 2021.




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                                                     Respectfully submitted,

                                                     By: /s/ John V. Jansonius
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                                                     ATTORNEYS FOR JPMORGAN
                                                     CHASE BANK, N.A.




                             CERTIFICATE OF CONFERENCE

       I certify that I conferred with Plaintiff’s counsel, Nicholas O’Kelly, on August 6, 2021,
and Plaintiff Kendrick Demon Stidom has agreed to the relief sought herein.

                                                     /s/ Shelisa E. Brock
                                                     Shelisa E. Brock



                                CERTIFICATE OF SERVICE

       This is to certify that on August 9, 2021, a true and correct copy of the foregoing document
was served electronically via ECF on all counsel of record.


                                                     /s/ John V. Jansonius
                                                     John V. Jansonius




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